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Neel Chatterjee (SBN 173985)
nchatterjee@goodwinlaw. com
GOODWlN PR()CTER LLP

135 Commonwealth Drive

Menlo Park, California 94025-1 105
Tel.: +l 650 752 3100

Fax.: +1 650 853 1038

leremy Lateiner (SBN 238472)
jlatefner@goodwfn Iaw. com
Brendan E. Radke (SBN 275284)
bradke@goodwinlaw. com
GOODWIN PROCTER LLP
Three Ernbarcadero Center

San Francisco, California 94111
Tel.: +l 415 733 6000

Fax.: +l 415 677` 9041

 

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UNITED STATES DISTRICT COURT

NORTH ISTRIC OF NOC.HF @NCM m M|SC.
fn re DMCA Subpoena to StarMake w

Interactive Inc.
DECLARATION IN SUPPORT OF
REQUEST FOR ISSUANCE OF 17 U.S.C.

§ 512§h! SUBPOENA

 

 

 

I, Neel Chatterjee, declare as follows:

1. I am a partner at the law firm of Goodwin Procter LLP, and counsel for Chantale
Sauve (“Sauve”) and Nicholas Farish (“Farish”) in the above-referenced matter. I-rnake this
declaration based upon matters within my own personal knowledge and, if called as a witness, l
could and would competently testify to the matters set forth herein.

2. l make this declaration in support of Sauve’s and Farish’s request for issuance of a
subpoena pursuant to the Digital Millenniu_m Copyright Act (“DMCA”), 17 U.S.C. § 512(h) (the
“DMCA Subpoena”), to ascertain the identity or identities of alleged infringer(s) of copyrighted
materials that are accessible on websites, apps and/or servers operated by Stannaker Interactive lnc.

3. The purpose for which the DMCA Subpoena is sought is to obtain the identity of the

alleged infringer(s) and such information will be used only for the purpose of protecting rights under

Ac'rlvE/94s41044.4 1
DECLARAT!ON

 

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Title 17 of the United States Code.
I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct Executed this 17th day of April, 2018 in Menlo Park, California.

1144

NEEL CHATTERJEE

 

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DECLARATION

 

